Case:17-03283-LTS Doc#:7976 Filed:07/15/19 Entered:07/15/19 16:53:56                                Desc: Main
                           Document Page 1 of 23
                                                            Hearing Date: October 30, 2019 at 9:30 a.m. AST
                                     Objection Deadline: August 5, 2019 (for parties other than the Fee Examiner)

                           IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF PUERTO RICO


     In re:                                                       PROMESA
                                                                  Title III
     THE FINANCIAL OVERSIGHT AND
     MANAGEMENT BOARD FOR PUERTO                                  No. 17 BK 3283-LTS
     RICO,
                                                                  (Jointly Administered)
              as representative of

     THE COMMONWEALTH OF PUERTO RICO,
     et al.

                             Debtors.1


            SUMMARY COVER TO THE SIXTH INTERIM APPLICATION OF
          SEGAL CONSULTING FOR ALLOWANCE OF COMPENSATION FOR
             SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES
          INCURRED AS ACTUARIES AND CONSULTANTS TO THE OFFICIAL
        COMMITTEE OF RETIRED EMPLOYEES OF THE COMMONWEALTH OF
           PUERTO RICO FROM FEBRUARY 1, 2019 THROUGH MAY 31, 2019


     Name of Applicant:                                                Segal Consulting

     Authorized to Provide Services To:                                The Official Committee of Retired
                                                                       Employees of the Commonwealth
                                                                       of Puerto Rico

     Period for which compensation is sought:                          February 1, 2019 through May 31,
                                                                       2019



 1
   The Debtors in these jointly-administered PROMESA title III cases, along with each Debtor’s respective
 title III case number listed as a bankruptcy case number due to software limitations and the last four (4)
 digits of each Debtor’s federal tax identification number, as applicable, are: (i) Commonwealth of Puerto
 Rico (Bankruptcy Case No. 17 BK 3283-LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico
 Sales Tax Financing Corporation (Bankruptcy Case No. 17 BK 3284) (Last Four Digits of Federal Tax ID:
 8474); (iii) Puerto Rico Highways and Transportation Authority (Bankruptcy Case No. 17 BK 3567-LTS)
 (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the Government of the
 Commonwealth of Puerto Rico (Bankruptcy Case No. 17 BK 3566-LTS) (Last Four Digits of Federal Tax
 ID: 9686); and (v) Puerto Rico Electric and Power Authority (Bankruptcy Case No. 17 BK 4780) (Last
 Four Digits of Federal Tax ID: 3747).
Case:17-03283-LTS Doc#:7976 Filed:07/15/19 Entered:07/15/19 16:53:56               Desc: Main
                           Document Page 2 of 23



   Monthly Fee Statements subject to the request:            February 2019 – May 2019


   Total compensation sought this period:                    $515,941.00

   Total expenses sought this period:                        $5,293.31

   Petition Date:                                            May 3, 2017

   Retention Date:                                           June 27, 2017

   Date of Order Approving Employment:                       August 10, 2017

   Total compensation approved by interim order to date:     $1,618,773.67

   Total expenses approved by interim order to date:         $19,311.15

   Total compensation paid to date:                          $1,864,645.62

   Total expenses paid to date:                              $24,604.46

   Total compensation subject to objection:                  None

   Total expenses subject to objection:                      None

   Blended rate in this application for all professionals:   $485.30

   Number of Professionals Included in this Application:     16

   Difference Between Fees Budgeted and Compensation
   Sought:                                                   $116,459.00

   Number of Professionals Billing Fewer than 15 Hours
   to this Case:                                             4

   Rates Higher than Those Disclosed at Retention:           6

   Objection Deadline:                                       August 5, 2019

   This is an interim application.




                                                  2
Case:17-03283-LTS Doc#:7976 Filed:07/15/19 Entered:07/15/19 16:53:56                       Desc: Main
                           Document Page 3 of 23




          Name                     Title       Department   Hourly      Total       Total Fees Billed
                                                            Billing     Billed
                                                             Rate       Hours

  Baty-Barr, Robert         Analyst            Pension        270.00       88.30            23,841.00
  Bridges, Geoffrey W.      Actuary            Pension        470.00       58.50            27,495.00
  Coulter, Sunday           Manager, Design    Pension        220.00         2.60              572.00
                            and Content
  Faucette, Jonathan G.     VP & Design        Pension        340.00         2.20              748.00
                            Consultant
  Itzcowitz, Jacob          Sr Analyst         Pension        360.00       22.50             8,100.00
  Libauskas, Jacob          Actuary            Pension        430.00      345.80           148,694.00
  Nicholl, Kim M.           Senior Vice        Pension        710.00      199.30           141,503.00
                            President
  Powell, Matthew           Actuary            Pension        410.00       52.60            21,566.00
  Reusz, Dan                Senior Analyst     Pension        340.00       21.50             7,310.00
  Scarpa, Jonathan P.       Actuary            Pension        410.00       20.30             8,323.00
  Stoyanovich, Michael J.   VP & Sr.           Pension        490.00       28.10            13,769.00
                            Consultant
                            Administration
  Stuckey, Jon              VP & Technology    Pension        340.00         9.20            3,128.00
                            Consultant
  Strom, Matthew A.         VP & Actuary       Pension        560.00      147.90            82,824.00
  Tabernacki, Patryk        Senior Analyst     Pension        340.00       29.80            10,132.00
  Timmons, Amy S.           VP & Sr.           Pension        500.00       62.10            31,050.00
                            Consultant
                            Administration
  Walker, Melanie           SVP, Compliance    Pension        560.00         3.50            1,960.00


  Sub-Total                                                              1,094.20          531,015.00
  Less 50% Discount on Non-Working Travel Matter:                                         (15,074.00)
  Total                                                                                    515,941.00




 Hourly billing rates shown are the average rates for the fee application period.




                                                    3
Case:17-03283-LTS Doc#:7976 Filed:07/15/19 Entered:07/15/19 16:53:56                                Desc: Main
                           Document Page 4 of 23
                                                            Hearing Date: October 30, 2019 at 9:30 a.m. AST
                                     Objection Deadline: August 5, 2019 (for parties other than the Fee Examiner)

                           IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF PUERTO RICO



     In re:                                                       PROMESA
                                                                  Title III
     THE FINANCIAL OVERSIGHT AND
     MANAGEMENT BOARD FOR PUERTO                                  No. 17 BK 3283-LTS
     RICO,
                                                                  (Jointly Administered)
              as representative of

     THE COMMONWEALTH OF PUERTO RICO,
     et al.

                             Debtors.1


              SIXTH INTERIM APPLICATION OF SEGAL CONSULTING
                   FOR ALLOWANCE OF COMPENSATION FOR
            SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES
          INCURRED AS ACTUARIES AND CONSULTANTS TO THE OFFICIAL
        COMMITTEE OF RETIRED EMPLOYEES OF THE COMMONWEALTH OF
           PUERTO RICO FROM FEBRUARY 1, 2019 THROUGH MAY 31, 2019

 To the Honorable United States District Court Judge Laura Taylor Swain:

          Segal Consulting (“Segal”), actuaries and consultants for The Official Committee of

 Retired Employees of the Commonwealth of Puerto Rico (the “Retiree Committee”) in the above-

 captioned Title III cases (“Title III Cases”), hereby submits this sixth application (“Application”)



 1
   The Debtors in these jointly-administered PROMESA title III cases, along with each Debtor’s respective
 title III case number listed as a bankruptcy case number due to software limitations and the last four (4)
 digits of each Debtor’s federal tax identification number, as applicable, are: (i) Commonwealth of Puerto
 Rico (Bankruptcy Case No. 17 BK 3283-LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico
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 (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the Government of the
 Commonwealth of Puerto Rico (Bankruptcy Case No. 17 BK 3566-LTS) (Last Four Digits of Federal Tax
 ID: 9686); and (v) Puerto Rico Electric and Power Authority (Bankruptcy Case No. 17 BK 4780) (Last
 Four Digits of Federal Tax ID: 3747).
Case:17-03283-LTS Doc#:7976 Filed:07/15/19 Entered:07/15/19 16:53:56                             Desc: Main
                           Document Page 5 of 23



 for allowance of compensation for professional services rendered, and reimbursement for actual

 and necessary expenses incurred in connection with such services, for the period from February 1,

 2019 through May 31, 2019 (the “Interim Period”). Segal submits this Application pursuant to

 sections 316 and 317 of the Puerto Rico Oversight, Management, and Economic Stability Act
                    2                                                                                       3
 (“PROMESA”), 48 U.S.C. §§ 2176, 2177; sections 105(a) and 503(b) of the Bankruptcy Code,

 11 U.S.C. § 503(b); Rule 2016(a) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy
           4
 Rules”) ; Rule 2016-1 of the Bankruptcy Rules for the United States Bankruptcy Court for the
                                                  5
 District of Puerto Rico (the “Local Rules”) ; the Court’s Order Authorizing the Employment of

 Segal Consulting as Actuary and Consultants for the Committee of Retired Employees (“Retention

 Order”) [Dkt. No. 1002]; the Court’s Second Amended Order Setting Procedures for Interim

 Compensation and Reimbursement of Expenses of Professionals (“Interim Compensation

 Order”) [Dkt. No. 3269]; and the United States Trustee’s Guidelines for Reviewing Applications

 for Compensation and Reimbursement of Expenses Filed Under 11 U.S.C. § 330 by Attorneys in

 Large Chapter 11 Cases Effective as of November 1, 2013 (the “UST Guidelines”); and the Fee

 Examiner’s November 10, 2017 Memorandum (the “Fee Examiner Memorandum”); the First

 Amended Order Pursuant to PROMESA §§ 316 and 317 and Bankruptcy Code Section 105(a)



 2
     PROMESA is codified at 48 U.S.C. §§ 2101–2241.
 3
  The Bankruptcy Code is codified at 11 U.S.C. §§ 101–1532. Unless otherwise noted, all Bankruptcy Code
 sections cited in the Application are made applicable to these Title III Cases pursuant to section 301(a) of
 PROMESA.
 4
  All Bankruptcy Rules referenced in this Application are made applicable to these Title III Cases pursuant
 to section 310 of PROMESA.
 5
  The Local Rules are made applicable here by the Court’s Order (A) Imposing and Rendering Applicable
 Local Bankruptcy Rules to These Title III Cases, (B) Authorizing Establishment of Certain Notice, Case
 Management, and Administrative Procedures, and (C) Granting Related Relief [Dkt. No. 249].



                                                      5
Case:17-03283-LTS Doc#:7976 Filed:07/15/19 Entered:07/15/19 16:53:56                        Desc: Main
                           Document Page 6 of 23



 Appointing a Fee Examiner and Related Relief (“Amended Fee Examiner Order”) [Dkt. No.

 3324]; and the Order on Fee Examiner’s Motion to Impose Presumptive Standards and Timeliness
                                                                                                   6
 requirements for Professional Fee Applications (the “Presumptive Order”) [Dkt. No. 3932]. In

 support of the Application, Segal submits the Certification of Kim Nicholl (the “Nicholl

 Certification”), attached hereto as Exhibit A, and respectfully represents as follows:

                                       Preliminary Statement

        1.      On August 10, 2017, Segal was retained to represent the Retiree Committee,

 effective June 27, 2017. A copy of Segal’s engagement letter is attached hereto as Exhibit B. The

 Retiree Committee represents approximately 167,000 retired employees of the Commonwealth

 and various governmental bodies and their surviving beneficiaries, including Puerto Rico’s retired

 teachers, police officers, firefighters, judges, municipal clerks, engineers, and other government

 workers of all categories (the “Retirees”). The Retirees’ pensions are underfunded by at least $58

 billion. They are the largest group of creditors in these Title III Cases.

        2.      During the Interim Period, Segal performed a variety of actuarial and consulting

 services that were necessary and appropriate for the efficient and economical resolution of the

 Retiree Committee’s interests in the Title III Cases, including, among other things: updating our

 analysis of the financial impact of benefit cuts on retirees; actuarial modeling to illustrate the

 benefit cuts that occurred before and after the bankruptcy filing; preparation of a modeling tool for

 retirees to model benefit cuts, illustrations of member benefit cuts; advising the Retiree Committee

 regarding proposed modifications to retirees’ pension, healthcare, and other accrued retirement




 6
  Pursuant to the Interim Compensation Order and Local Rule 2016-1, the Retiree Committee is required to
 comply with the UST Guidelines.


                                                   6
Case:17-03283-LTS Doc#:7976 Filed:07/15/19 Entered:07/15/19 16:53:56                   Desc: Main
                           Document Page 7 of 23



 benefits; and review and validation of fiscal plan projected savings. Segal also continued

 analyzing the pension plan census data as of June 30, 2016 to update our actuarial models.

        3.     Segal’s work during the Interim Period was necessary for, and beneficial to, the

 Retirees and served to ensure that the interests of the Retirees were properly represented and

 safeguarded in these Title III Cases.     Segal is compensated on an hourly fee basis, plus

 reimbursement of actual and necessary expenses incurred by Segal.

                                           Jurisdiction

        4.     The United States District Court for the District of Puerto Rico (the “Court”) has

 subject matter jurisdiction over this matter pursuant to PROMESA section 306(a).

        5.     Venue is proper pursuant to PROMESA section 307(a).

        6.     Segal makes this Application pursuant to PROMESA sections 316 and 317,

 Bankruptcy Code sections 105(a) and 503(b), Bankruptcy Rule 2016, Local Rule 2016-1, the

 Retention Order, the Interim Compensation Order, and the UST Guidelines.

                                           Background

        7.     On May 3, 2017, the Commonwealth of Puerto Rico (the “Commonwealth”), by

 and through the Financial Oversight and Management Board for Puerto Rico (the “Oversight

 Board”), as the Commonwealth’s representative pursuant to section 315(b) of PROMESA, filed

 a petition with the Court under title III of PROMESA.

        8.     On May 5, 2017, the Puerto Rico Sales Tax Financing Corporation (“COFINA”),

 by and through the Oversight Board, as COFINA’s representative pursuant to PROMESA section

 315(b), filed a petition with the Court under title III of PROMESA.




                                                7
Case:17-03283-LTS Doc#:7976 Filed:07/15/19 Entered:07/15/19 16:53:56                    Desc: Main
                           Document Page 8 of 23



           9.      On May 21, 2017, the Puerto Rico Highways and Transportation Authority

 (“HTA”), by and through the Oversight Board, as HTA’s representative pursuant to PROMESA

 section 315(b), filed a petition with the Court under title III of PROMESA.

           10.     On May 21, 2017, the Employees Retirement System for the Commonwealth of

 Puerto Rico (“ERS”), by and through the Oversight Board, as ERS’s representative pursuant to

 PROMESA section 315(b), filed a petition with the Court under title III of PROMESA.

           11.     On July 3, 2017, the Puerto Rico Electric Power Authority (“PREPA”), by and

 through the Oversight Board, as PREPA’s representative pursuant to PROMESA section 315(b),

 filed a petition with the Court under title III of PROMESA.

           12.     Through Orders of this Court, the Commonwealth, COFINA, HTA, ERS, and

 PREPA Title III Cases are jointly administered for procedural purposes only, pursuant to

 PROMESA section 304(g) and Bankruptcy Rule 1015. [See Dkt. Nos. 242, 537, 1417.]

           13.     On June 15, 2017, U.S. Trustee, pursuant to section 1102(a)(1) of the Bankruptcy

 Code, appointed the Retiree Committee, consisting of the following nine individuals: Blanca
                                            7
 Paniagua, Carmen Nuñez, José Marin, Juan Ortiz, Lydia Pellot, Marcos A. Lopez, Miguel Fabre,

 Milagros Acevedo, and Rosario Pacheco. [Dkt. No. 340.]

                                   Segal’s Retention and Fee Request

           14.     On June 27, 2017, the Retiree Committee elected to employ Segal to advise the

 Retiree Committee. See Exhibit B.




 7
     José Marin resigned from the Retiree Committee effective April 12, 2018.



                                                      8
Case:17-03283-LTS Doc#:7976 Filed:07/15/19 Entered:07/15/19 16:53:56                        Desc: Main
                           Document Page 9 of 23



        15.     On July 19, 2017, the Retiree Committee filed its Application for an Order

 Approving the Employment of Segal Consulting (the “Retention Application”) [Dkt. No. 671]
                                                                  8
 pursuant to sections 105(a) and 1103 of the Bankruptcy Code.

        16.     On August 10, 2017, the Court entered an Order (the “Retention Order”) [Dkt.

 No. 1004] approving Segal’s retention as counsel to the Retiree Committee, effective June 27,

 2017, on the terms and conditions identified in the Retention Application. A copy of the Retention

 Order is attached hereto as Exhibit C. Pursuant to the Retention Order, Segal is entitled to

 compensation for reasonable, actual, and necessary professional services rendered and

 reimbursement of expenses incurred in connection with the Title III Cases.

        17.     On October 6, 2017, the Court entered an Order appointing Brady Williamson as

 the fee examiner (the “Fee Examiner”) in these Title III Cases. [Dkt No. 1416.]

        18.     On December 15, 2017, Segal filed its First Interim Application for Allowance of

 Compensation for Services Rendered and Reimbursement of Expenses Incurred From June 16,

 2017 Through September 30, 2017 (the “First Interim Application”) [Dkt. No. 2049], seeking

 $223,475.00 in compensation and $5,305.47 in expenses. On March 7, 2018, the Court entered an

 Order approving the First Interim Application (the “First Interim Order”) [Dkt No. 2685] in the

 amount of $223,475.00 in compensation and $5,305.47 in expenses.                Segal has been paid

 $223,475.00 of fees and $5,305.47 of expenses approved in the First Interim Order.

        19.     On March 19, 2018, Segal filed its Second Interim Application for Allowance of

 Compensation for Services Rendered and Reimbursement of Expenses Incurred From October 1,


 8
  In a chapter 11 case, a committee appointed under section 1102 of the Bankruptcy Code ordinarily would
 seek authority to employ counsel pursuant to section 328. Because PROMESA does not incorporate section
 328 of the Bankruptcy Code, the Retiree Committee moved for approval of its Retention Application
 pursuant to sections 105(a) and 1103(a). See PROMESA § 301(a) (omitting Bankruptcy Code sections 327
 and 328 from incorporation into PROMESA).


                                                   9
Case:17-03283-LTS Doc#:7976 Filed:07/15/19 Entered:07/15/19 16:53:56                   Desc: Main
                          Document Page 10 of 23



 2017 Through January 31, 2018 (the “Second Interim Application”) [Dkt. No. 2742], seeking

 $482,920.00 in compensation and $4,405.59 in expenses. On June 8, 2018, the Court entered an

 order approving the Second Interim Application (the “Second Interim Order”) [Dkt No. 3656]

 in the amount of $476,187.80 in compensation and $3,741.58 in expenses. Segal has been paid

 $476,187.80 of fees and $3,741.58 of expenses approved in the Second Interim Order.

        20.    On July 16, 2018, Segal filed its Third Interim Application for Allowance of

 Compensation for Services Rendered and Reimbursement of Expenses Incurred From February 1,

 2018 Through May 31, 2018 (the “Third Interim Application”) [Dkt. No. 4200], seeking

 $268,316.00 in compensation and $4,015.79 in expenses. On November 9, 2018, the Court entered

 an order approving the Third Interim Application [Dkt No. 4200] in the amount of $255,563.33 in

 compensation and $4,015.79 in expenses, reflecting $12,752.67 in fee reductions and $0.00 in

 expense reductions recommended by the Fee Examiner and agreed to by Segal. Segal has been

 paid $254,953.56 of fees and $4,015.79 of expenses approved in the Third Interim Order.

        21.    On November 16, 2018, Segal filed its Fourth Interim Application for Allowance

 of Compensation for Services Rendered and Reimbursement of Expenses Incurred From June 1,

 2018 Through September 30, 2018 (the “Fourth Interim Application”) [Dkt. No. 4320], seeking

 $384,373.00 in compensation and $6,450.30 in expenses. On March 14, 2019, the Court entered

 an Order approving the Fourth Interim Application (the “Fourth Interim Application”) [Dkt. No.

 5654] in the amount of $378,963.00 in compensation and $5,164.90 in expenses, reflecting

 $5,410.00 in fee reductions and $1,130.66 in expense reductions recommended by the Fee

 Examiner and agreed to by Segal. Segal has been paid $377,734.64 of fees and $5,164.90 of

 expenses approved in the Fourth Interim Order.




                                               10
Case:17-03283-LTS Doc#:7976 Filed:07/15/19 Entered:07/15/19 16:53:56                      Desc: Main
                          Document Page 11 of 23



        22.     On March 18, 2019, Segal filed its Fifth Interim Application for Allowance of

 Compensation for Services Rendered and Reimbursement of Expenses Incurred From October 1,

 2018 Through January 31, 2019 (the “Fifth Interim Application”) [Dkt. No. 5806], seeking

 $312,422.00 in compensation and $1,237.68 in expenses. On June 26, 2019, the Court entered an

 Order approving the Fifth Interim Application (the “Fifth Interim Application”) [Dkt. No. 7670]

 in the amount of $309,575.35 in compensation and $1,083.41 in expenses, reflecting $2,846.65 in

 fee reductions and $154.27 in expense reductions recommended by the Fee Examiner and agreed

 to by Segal. Segal has been paid $309,575.35 of fees and $1,083.41 of expenses approved in the

 Fifth Interim Order.

        23.     The cover sheet to this Application contains a schedule setting forth all Segal

 actuaries, consultants, and professionals who have performed services in the Title III Cases during

 the Interim Period, the capacity in which each individual is employed by Segal, the hourly billing

 rate charged for services performed by such individual, the aggregate number of hours expended

 in this case and fees billed therefore.

        24.     By this Application, Segal seeks allowance of compensation in the amount of

 $515,941.00 and reimbursement of expenses in the amount of $5,293.31. Segal has previously

 received $1,841,492.94 for services performed and $24,604.46 for reimbursement for expenses

 incurred through May 31, 2019.

        25.     This is Segal’s sixth request for interim compensation in these Title III Cases. As

 set forth in the Nicholl Certification, all of the services for which interim compensation is sought

 herein were rendered for and on behalf of the Retiree Committee in connection with these Title III

 Cases. To the best of the Segal’s knowledge and as disclosed in the Declaration Of Kim Nicholl

 In Support Of Application of the Official Committee of Retired Employees of the Commonwealth


                                                 11
Case:17-03283-LTS Doc#:7976 Filed:07/15/19 Entered:07/15/19 16:53:56                       Desc: Main
                          Document Page 12 of 23



 of Puerto Rico for Order Approving the Employment and Retention of Segal Consulting [Dkt. No.

 670-2] and First Supplemental Declaration of Kim Nicholl In Support Of Application For Order

 Approving The Employment Of Segal Consulting [Dkt. No. 1766] (together, the “Nicholl

 Declarations”), Segal is a “disinterested person” as defined in section 101(14) of the Bankruptcy

 Code, and except as otherwise specified in the Nicholl Declarations, Segal’s actuaries, consultants,

 and professionals do not hold or represent any interest adverse to the Retiree Committee.

        26.     Segal might have in the past provided actuarial and consulting services, might

 currently provide actuarial and consulting services, and likely in the future will provide actuarial

 and consulting services to parties in interest in this case in connection with matters unrelated to

 the Retiree Committee or the Title III Cases. In the Nicholl Declarations, Segal disclosed its

 connections to parties in interest in the Title III Cases that it has been able to ascertain using its

 reasonable efforts. Segal will update such disclosures, as appropriate, if Segal becomes aware of

 relevant and material new information.

        27.     Segal performed the services for which it is seeking compensation on behalf of the

 Retiree Committee and not on behalf of any other committee, creditor, or other entity.

        28.     Segal has not received payment or promise of payment from any source other than

 the Commonwealth for services provided or to be provided in any capacity whatsoever in

 connection with the Title III Cases.

                   I.      Fees and Expenses Incurred During Interim Period

 A.     Customary Billing Disclosures

        29.     Segal’s hourly rates are set at a level designed to compensate Segal fairly for the

 work of its actuaries, consultants, and professionals and to cover fixed and routine expenses. The

 hourly rates and corresponding rate structure utilized by Segal in the Title III Cases are equivalent



                                                  12
Case:17-03283-LTS Doc#:7976 Filed:07/15/19 Entered:07/15/19 16:53:56                       Desc: Main
                          Document Page 13 of 23



 to the hourly rates and corresponding rate structure used by Segal for similar complex actuarial

 consulting assignments, regardless of whether a fee application is required. The rates and rate

 structure reflect that such complex matters typically are national in scope and typically involve

 great complexity, high stakes, and intense time pressures.

        30.      Exhibit D to this Application is a summary of blended hourly rates for

 professionals for which Segal is seeking hourly compensation in this Application, as required by

 the UST Guidelines.

 B.     Fees Incurred During Interim Period

        31.      In the ordinary course of Segal’s practice, Segal maintains records of the time spent

 on the professional services provided to the Retiree Committee. Exhibit E to this Application is

 a summary of fees incurred and hours worked during the Interim Period for which compensation

 is sought on an hourly basis in this Application, setting forth the following information:

             the name of each actuary, consultant, and professional for whose work compensation
              is sought;
             the aggregate time worked and fees billed by each actuary, consultant, and professional
              during the Interim Period;
             the hourly billing rate for each such actuary, consultant, and professional at Segal’s
              current billing rates; and
             a calculation of total compensation requested using the rates disclosed in the Segal
              Application.
 C.     Expenses Incurred During Interim Period

        32.      In the ordinary course of Segal’s practice, Segal maintains a record of expenses

 incurred in rendering professional services to the Retiree Committee and for which reimbursement

 is sought. Exhibit F to this Application is a summary for the Interim Period of the total amount

 of expenses for which Segal seeks reimbursement with respect to each category of expenses. The

 out-of-pocket disbursement sum is broken down into categories of charges.



                                                  13
Case:17-03283-LTS Doc#:7976 Filed:07/15/19 Entered:07/15/19 16:53:56                    Desc: Main
                          Document Page 14 of 23



        II.    Summary of Professional Services Provided During the Interim Period

        33.     During the Interim Period, Segal provided important professional and actuarial

 services to the Retiree Committee in connection with the Title III Cases. Detailed descriptions of

 the specific services provided and the time expended performing such services are attached as

 Exhibit H, and a summary of the services Segal provided to the Retiree Committee during the

 Interim Period is set forth in paragraphs 35 through 42 below.

        34.     Segal has established, in accordance with its internal billing procedures, subject

 matters categories (each, a “Matter Category”) for keeping time records of the work performed

 for the Retiree Committee. A schedule setting forth a description of each Matter Category utilized

 in this case, the number of hours worked by Segal actuaries, consultants, and professionals for

 each Matter Category, and the aggregate fees associated with each Matter Category is attached as

 Exhibit G. In addition, subject to redaction for work product and confidentiality where necessary

 to protect the Retiree Committee, Segal’s records of time worked providing professional services

 to the Retiree Committee are attached hereto as Exhibit H, and Segal’s records of expenses

 incurred during the Interim Period in the rendition of professional services to the Retiree

 Committee are attached as Exhibit I.

        35.     The following is a summary, by Matter Category, of the professional services

 provided by Segal during the Interim Period. This summary is organized in accordance with

 Segal’s internal system of matter numbers.




                                                14
Case:17-03283-LTS Doc#:7976 Filed:07/15/19 Entered:07/15/19 16:53:56                       Desc: Main
                          Document Page 15 of 23



        Actuarial Analysis
        Fees: $359,313.00      Total Hours: 790.90

        36.     Segal’s recorded time entries in this category reflect confidential actuarial analysis.

        Research
        Fees: $2,302.00        Total Hours: 4.10

        37.     Segal’s recorded time entries in this category reflect confidential research.

        Data Analysis

        Fees: $3,703.00        Total Hours: 10.70

        38.     Segal’s recorded time entries in this category reflect confidential data analysis.

        Calls & Meetings with other Professionals
        Fees: $62,329.00       Total Hours: 111.20

        39.     Segal’s recorded time entries in this category reflect participating in conference

 calls to discuss strategy and roles, work coordination, and pension treatement.

        Preparation of Reports
        Fees: $0.00     Total Hours: 0.00

        40.     Segal did not have any fees in this matter code in this period.

        Retiree Committee Meetings
        Fees: $27,230.00       Total Hours: 47.80

        41.     Segal’s recorded time entries in this category reflect participating in Retiree

 Committee conference calls, as well as attendance by two Segal consultants at a meeting in Puerto

 Rico in March 2019 and attendance by one Segal consultant at a second meeting in Puerto Rico in

 March 2019.




                                                  15
Case:17-03283-LTS Doc#:7976 Filed:07/15/19 Entered:07/15/19 16:53:56                          Desc: Main
                          Document Page 16 of 23



        Case Administration
        Fees: $45,990.00          Total Hours: 76.50

        42.        Segal’s recorded time entries in this category reflect reviewing court filings;

 coordination of work; preparation of invoices, preparation of budgets; reviewing and responding

 to feedback from the fee examiner; preparation of the fifth interim fee application; and updating

 on case issues.

        Non-Working Travel Time
        Fees: $30,148.00          Total Hours: 53.00

        43.        This time entry reflects non-productive travel time, including traveling for court

 appearances and committee meetings.           Pursuant to Local Rule 2016-1(a), Segal is seeking

 compensation at one-half of its normal rate for time spent traveling in connection with its providing

 actuarial consulting services to the Retiree Committee.

     III.     Actual and Necessary Expenses Incurred by Segal during the Interim Period

        44.        As summarized in Exhibit F and as set forth in detail in Exhibit I, Segal has incurred

 a total of $5,293.31 in expenses on behalf of the Retiree Committee during the Interim Period.

 These charges are intended to reimburse Segal’s direct costs that are not included in Segal’s hourly

 billing rates. Only clients who actually use services of the types set forth in Exhibit F of this Fee

 Application are separately charged for such services.

       IV.     Segal’s Requested Compensation and Reimbursement Should Be Allowed

        45.        The services for which Segal seeks compensation in this Application were, at the

 time provided, necessary for and beneficial to the Retiree Committee. Segal performed these

 services economically, effectively, and efficiently, and they benefited the Retiree Committee.

 Segal submits that the compensation requested is reasonable in light of the nature, extent, and




                                                    16
Case:17-03283-LTS Doc#:7976 Filed:07/15/19 Entered:07/15/19 16:53:56                      Desc: Main
                          Document Page 17 of 23



 value of such services to the Retiree Committee. Accordingly, Segal submits the compensation

 sought in this Application is warranted and should be approved.

 A.     Compensation under Sections 316 and 317 of PROMESA

        46.     Section 317 of PROMESA authorizes interim compensation of professionals and

 incorporates the substantive standards of section 316 of PROMESA to govern the Court’s award

 of interim compensation.     Section 316 of PROMESA provides that a court may award a

 professional employed under section 1103 of the Bankruptcy Code “reasonable compensation for

 actual, necessary services rendered,” and “reimbursement for actual, necessary expenses.” 48

 U.S.C. § 2176(a)(1), (2). Section 316(c) sets forth the criteria for such an award:

                In determining the amount of reasonable compensation to be awarded to a
                professional person, the court shall consider the nature, the extent, and the
                value of such services, taking into account all relevant factors, including—

                        (1)    the time spent on such services;

                        (2)    the rates charged for such services;

                        (3)    whether the services were necessary to the administration of,
                        or beneficial at the time at which the service was rendered toward
                        the completion of, a case under this chapter;

                        (4)     whether the services were performed within a reasonable
                        amount of time commensurate with the complexity, importance, and
                        nature of the problem, issue, or task addressed;

                        (5)     with respect to a professional person, whether the person is
                        board certified or otherwise has demonstrated skill and experience
                        in the restructuring field; and

                        (6)     whether the compensation is reasonable based on the
                        customary compensation charged by comparably skilled
                        practitioners in cases other than cases under this subchapter or Title
                        11.

                48 U.S.C. § 2176(c).




                                                 17
Case:17-03283-LTS Doc#:7976 Filed:07/15/19 Entered:07/15/19 16:53:56                       Desc: Main
                          Document Page 18 of 23



        47.     As analyzed below, Segal submits the elements governing awards of compensation

 under PROMESA justify the allowance requested.

        1.      The Time and Labor Required

        48.     During the Interim Period, Segal’s actuaries, consultants, and professionals spent

 1,094.20 hours providing professional services to the Retiree Committee for which Segal seeks

 compensation on an hourly basis. Segal required this amount of time to conduct its actuarial

 analyses arising from the Title III Cases and the other tasks described herein.

        2.      The Rates Charged for Such Services

        49.     During the Interim Period, Segal’s hourly billing rates ranged from $560.00 per

 hour to $710.00 per hour for Senior Vice President. Segal’s hourly billing rates ranged from

 $340.00 to $560.00 for VP & Actuary, from $410.00 to $470.00 for Actuaries, and from $220.00

 to $360.00 for analysts. Based on the recorded hours expended by Segal’s actuaries, consultants,

 and professionals, the average hourly billing rate for Segal’s services was $485.30.

        50.     Segal’s hourly rates are set at a level designed to compensate Segal fairly for the

 work of its actuaries, consultants, and professionals and to cover certain fixed and routine overhead

 expenses. Hourly rates vary with the experience and seniority of the individuals assigned. These

 hourly rates are subject to periodic adjustments to reflect economic and other conditions and are

 consistent with the rates charged elsewhere.

        51.     The hourly rates and corresponding rate structure that Segal charges in these cases

 are equivalent to or less than the hourly rates and corresponding rate structure that Segal charges

 for similar complex actuarial consulting assignments, regardless of whether a fee application is

 required.




                                                  18
Case:17-03283-LTS Doc#:7976 Filed:07/15/19 Entered:07/15/19 16:53:56                       Desc: Main
                          Document Page 19 of 23



         3.      The Necessity of the Services and the Benefit to the Estate

         52.     As described herein, the services rendered by Segal were necessary for the efficient

 and economical resolution of the Retiree Committee’s interests in the Title III Cases. All of those

 services directly benefitted the Retiree Committee.

         53.     The Retiree Committee has reviewed the Application and has approved the

 compensation and reimbursement of expenses requested herein.

         4.      The Reasonableness of the Time Spent, Based on the Complexity,
                 Importance, Nature of the Issues

         54.     Segal’s work involved the representation of the Title III Cases’ largest creditor

 constituency—Puerto Rico’s approximately 167,000 retired teachers, police officers, firefighters,

 judges, municipal clerks, engineers, and other government workers of all categories—and Segal’s

 professional services during the Interim Period were necessary to ensure that the interests of the

 Retirees were properly represented and safeguarded and that all matters relevant to the Retiree

 Committee were handled in an appropriate manner. The compensation requested is reasonable in

 light of those services.

         5.      The Experience, Reputation, and Ability of the Actuaries and Consultants
                 Providing Services

         55.     Segal actuaries and consultants have achieved a high degree of expertise and

 positive reputations in their respective fields. Segal’s Public Plan actuaries and consultants

 frequently receive recognition for their skill and achievements, and Segal is frequently cited as one

 of the leading actuarial consulting firms in this field.

         6.      Customary Compensation

         56.     The work for which Segal seeks compensation in this Application is of the type and

 nature for which Segal customarily would seek compensation at the rates identified in this



                                                   19
Case:17-03283-LTS Doc#:7976 Filed:07/15/19 Entered:07/15/19 16:53:56                       Desc: Main
                          Document Page 20 of 23



 Application. In addition, the compensation Segal seeks in this Application is comparable to the

 compensation it would have sought for comparable work outside of a Title III case.

         57.     Segal submits that the compensation requested is reasonable under all the factors

 considered under sections 316 and 317 of PROMESA and that the factors justify the allowance in

 full of Segal’s compensation and reimbursement request.

         58.     In view of the foregoing, Segal respectfully requests that it be allowed interim

 compensation in the amount of $515,941.00 for services rendered during the Interim Period.

 B.      Reasonable and Necessary Expenses Incurred in Providing Services to the Retiree
         Committee.

         59.     For the Interim Period, Segal requests reimbursement of $5,293.31 for reasonable

 and necessary costs and expenses incurred on behalf of the Retiree Committee.

         60.     Segal’s normal billing rates do not take these costs and expenses into consideration.

 Rather, Segal bills each cost and expense to the applicable client. Because of the disparity between

 the different clients’ requirements for expenses such as travel, computer-assisted research,

 teleconference services, postage, courier and messenger services, and photocopying, it is difficult

 to charge costs and expenses fairly and equitably by including them in Segal’s ordinary billing

 rates. Accordingly, Segal generally charges each client for such costs and expenses separately, in

 each case, at Segal’s costs.

         61.     Segal does not include the amortization of the cost of any investment, equipment,

 or capital outlay in its charges for these services.

         62.     Pursuant to Local Rule 2016-1(b)(7), Segal seeks reimbursement for air travel

 limited to the amount spent on coach fare.

         63.     Segal has made reasonable efforts to minimize its costs and expenses in connection

 with its representation of the Retiree Committee. Each of the costs and expenses Segal has

                                                   20
Case:17-03283-LTS Doc#:7976 Filed:07/15/19 Entered:07/15/19 16:53:56                      Desc: Main
                          Document Page 21 of 23



 incurred in providing professional services to the Retiree Committee was necessary, reasonable,

 and justified under the circumstances to serve the needs of the Retiree Committee.

                V.      Statement by Segal Under ¶ C(5) of the UST Guidelines

        64.     None of the professionals included in this Application varied their hourly rate based

 on the geographic location of the Title III Cases.

        65.     The Application does not include time or fees related to reviewing or revising time

 records or preparing, reviewing, or revising invoices.

        66.     The Application does not include time or fees for reviewing time records to redact

 any privileged or other confidential information.

        67.     The hourly rates specified in the Retention Application were effective January 1,

 2017, and have increased for certain professionals effective January 1, 2018 and January 1, 2019.

 Segal’s engagement letter with the Retiree Committee provides that Segal’s scheduled hourly rates

 are periodically adjusted, generally at the beginning of a calendar year.

        68.     Consistent with the UST Guidelines and the Fee Examiner Memorandum Segal

 submits monthly budgets to the Fee Examiner beginning January 2018.

                             VI.       Reservation of Rights and Notice

        69.     It is possible that some professional time expended or expenses incurred during the

 Interim Period are not reflected in the Application. Segal reserves the right to include such

 amounts in future fee applications.

        70.     Pursuant to the Interim Compensation Order, the Retiree Committee has provided

 notice of this Application to: (a) the U.S. Trustee; (b) counsel to the Oversight Board; (c) counsel

 to the Puerto Rico Fiscal Agency and Financial Advisory Authority; (d) counsel to the Official

 Committee of Unsecured Creditors; (e) the Fee Examiner; and (f) all parties that have filed a notice



                                                  21
Case:17-03283-LTS Doc#:7976 Filed:07/15/19 Entered:07/15/19 16:53:56                     Desc: Main
                          Document Page 22 of 23



 of appearance with the Clerk of this Court, pursuant to Bankruptcy Rule 2002 and applicable

 provisions of the Local Rules, and requested such notice.

                                     VII.   No Prior Request

        71.     No prior application for the relief requested by this Application has been made to

 this or any other court.

        WHEREFORE, Segal respectfully requests that the Court enter an order: (a) awarding

 Segal compensation for actuarial, consulting, and professional services provided during the Interim

 Period in the amount of $515,941.00; (b) reimbursement of actual, reasonable, and necessary

 expenses incurred in the Interim Period in the amount of $5,293; (c) granting such other relief as

 is appropriate under the circumstances.




                                                 22
Case:17-03283-LTS Doc#:7976 Filed:07/15/19 Entered:07/15/19 16:53:56                 Desc: Main
                          Document Page 23 of 23



        WHEREFORE, Segal respectfully requests entry of an Order approving its Application

 and granting whatever other relief this Court deems appropriate and just.


  Dated: July 15, 2019                             Respectfully submitted,

                                                   SEGAL CONSULTING

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                                                23
